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UNITED STATES DISTRICT COURT CAMDEN OFFICE
MARTIN LUTHER KING, JR. USPO & Courthouse
William T. Walsh FEDERAL BLD & U.S. COURTHOUSE 401 Market Street
Clerk 50 WALNUT STREET Camden, N.f. 08101
P.O. BOX 419

NEWARK, N.S. 07107-0479 TRENTON OFFICE
973-645-4619 402 East State

Street
P.O. Box 515

Trenton, N.J. 08603

REPLY TO: Newark
Date:_7/T9/10

CLERK

SUPERIOR COURT OF HUDSON COUNTY
595 NEWARK AVENUE
JERSEY CITY, NJ G7306

Re: MOSS vs. TORRES, et al

Your No. HUD-L-2477-10
USDC NO. 10-cv-3018 (WJM)

Dear Sir/Madam:

Pursuant to Order of Remand entered in above matter, enclosed
please find one Certified copy of Order of Remand and one
Certified copy of docket sheets.

Kindly acknowledge receipt on copy of this letter.

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Very truly yours,

William T. Walsh, Clerk

by:
s/Donna DeAngelis

Deputy Clerk

Enclosure
ec: All counsel/parties

RECETPT IS ACKNOWLEDGED THIS DAY OF ; 199

